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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
                        _____________________________________

BIZUAYEHU YLIMA BAYEH,

       Plaintiff,

v.                                                   Civil Action No. 3:22-cv-01008-C

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES, et al.,

       Defendants.

              DEFENDANTS’ UNOPPOSED MOTION FOR AN
        EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND

       In this case, Plaintiff Bizuayehu Ylima Bayeh seeks a writ of mandamus to compel

U.S. Citizenship and Immigration Services (USCIS) to adjudicate a Form I-485,

“Application to Register Permanent Residence or Adjust Status.” See Doc. 1 at 2.

Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Defendants respectfully move the

Court for a 45-day extension of time to answer or otherwise respond to the complaint,

which would extend the response deadline from May 26, 2022 to July 11, 2022. The

reason for this extension request is that, on May 23, 2022, USCIS issued a request for

evidence to Plaintiff in connection with the Form I-485. A response to the request for

evidence is due by August 18, 2022, which constitutes the maximum period allowed for

responding to requests for evidence. See 8 C.F.R. § 103.2(b)(8)(iv) (“The request for

evidence . . . will indicate the deadline for response, but in no case shall the maximum




Defendants’ Unopposed Motion for an Extension of Time to Answer or Otherwise Respond – Page 1
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response period provided in a request for evidence exceed twelve weeks . . . .”). 1 Upon

receipt of the response to the request for evidence, USCIS will resume processing the

Form I-485. USCIS expects that, by July 11, 2022, it will have either completed

adjudicating the Form I-485, rendering the lawsuit moot, or at least be in a significantly

better position to determine what additional steps may be necessary before completing

adjudication. Plaintiff does not oppose this extension request. Therefore, Defendants

respectfully move the Court for a 45-day extension of time to answer or otherwise

respond to Plaintiff’s complaint, from May 26, 2022 to July 11, 2022.

                                                                Respectfully submitted,

                                                                CHAD E. MEACHAM
                                                                UNITED STATES ATTORNEY

                                                               /s/ Lisa R. Hasday
                                                               Lisa R. Hasday
                                                               Assistant United States Attorney
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                                                               lisa.hasday@usdoj.gov

                                                               Attorneys for Defendants




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  Defendants note that, in response to the Covid-19 pandemic, USCIS has extended flexibilities for responding to
agency requests and, before taking any action, the agency will consider a response to a request for evidence that is
received within 60 calendar days after the response due date set in the request. See
https://www.uscis.gov/newsroom/alerts/uscis-extends-flexibility-for-responding-to-agency-requests-1.


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                                        Certificate of Conference

       I certify that, on May 23 and 24, 2022, I conferred with Plaintiff’s counsel

regarding this motion, and counsel stated that Plaintiff does not oppose the motion.

                                                      /s/ Lisa R. Hasday
                                                      Lisa R. Hasday
                                                      Assistant United States Attorney




                                      Certificate of Service

       On May 24, 2022, I electronically submitted the foregoing document with the

Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                      /s/ Lisa R. Hasday
                                                      Lisa R. Hasday
                                                      Assistant United States Attorney




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